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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DAVID SIMS,                     §
                                §
Plaintiff,                      §
                                §
v.                              §                    Civil Action No. 4:14-CV-02145
                                §
CITY OF MADISONVILLE,           §
MADISONVILLE POLICE DEPARTMENT, §
AND JEFFERY COVINGTON,          §                    Jury Trial Demanded
                                §
Defendants.                     §

  PLAINTIFF’S MOTION FOR RECONSIDERATION OF THE ORDER GRANTING
 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND/OR FOR NEW TRIAL

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now the Plaintiff, David Sims, and files this Motion for Reconsideration of this

Honorable Court’s Order Granting the Motion for Summary Judgment and/or for New Trial, and

respectfully shows the following:

        A.     Introduction

       1.    David Sims filed this action on July 25, 2014, through his undersigned counsel,

against the Defendants City of Madisonville, the Madisonville Police Department (hereafter

“City”), and Jeffery Covington (hereafter “Covington”) in his individual capacity, for

deprivations of his Constitutional Rights under the First, Fourth and Fourteenth Amendment,

pursuant to 42 U.S.C. § 1983. [Doc. 1, Plaintiff’s Original Complaint; Doc. 25 at 22-27, 28,

Plaintiff’s First Amended Complaint.]   Against Defendants City and Police Department, Sims

alleged First Amendment Retaliation, Deprivation of Protected Property Interests, and

Deprivation of Protected Liberty Interest without due process of laws. Id. at 22-27, 28. Against

Defendant Covington, Sims alleged claims for civilly conspiring, while acting under color of
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law, to retaliate against Plaintiff and/or deprive Plaintiff of constitutionally protected interests

without due process of law. Id. at 29.

        2.    Prior to filing this action, on July 16, 2014, Sims, proceeding pro se, filed a civil

action in State Court against the City of Madisonville and the Madisonville Police Department,

asserting a single cause of action under the Texas Whistleblower Act, Tex. Gov't Code §

554.0001, et seq, 1 which provides a limited waiver of immunity allowing public employees to

bring claims against governmental employers for adverse employment actions taken in

retaliation for the good faith report of illegal acts to an appropriate law enforcement authority.

This Court would not have had jurisdiction over that state law claim. Nor were the City’s

additional unconstitutional actions against Sims subsequent to the termination of his employment

actionable under the Texas Whistleblower Act. The Act provides limited relief for suspension,

termination, or otherwise adverse personnel actions against an employee.

        3.    Defendants City and Police Department filed a Motion and Supplemental Motion to

Dismiss pursuant to Federal Rule of Civil Procedure 12(b), and Sims responded.

        4.    In the State court action, the City of Madisonville filed a Plea to the Jurisdiction on

September 8, 2014, based solely on the ground that Sims’ state court claim was barred by the 90

day limitations, which they argue runs from the date of termination in all cases, despite the

express terms of the Act, requiring suit be field within 90 days of the adverse act or reasonable

discovery therefore. Moreover, the limitations period is told by the initiation and during the

pendency of an internal procedure such as the appeal filed by David Sims to the City Manager,

that remains pending.

        5.    The City argued that the time limitation was a jurisdictional prerequisite to suit, and


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  Doc. 31-1 at B48, Plaintiff’s Original Petition; David Sims v. City of Madisonville; Cause No. 14-13720-012-10;
in the 12th Judicial District Court, Madison County, Texas.
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therefore Sims’ allegations were insufficient to invoke the waiver of immunity for liability under

the act. [Doc. No. 31-1 at B29, City’s Plea to the Jurisdiction of the state court (“PTJ”); Doc.

No. 31-1 at B 31; id. at F, City’s Supplemental Briefing.]

       6.    The state court granted the City’s plea to the jurisdiction and dismissed the case with

prejudice on the basis that Sims’ allegations did not state a claim that invoked the limited waiver

of governmental immunity under the Texas Whistleblower Act.

       7.    Defendants City and Police Department, and Defendant Covington filed Motions for

Summary Judgment of Sims’ federal claims in this Court on res judicata grounds, based upon the

state court’s order dismissing Sims’ Whistleblower Claim for want of subject matter jurisdiction.

[Doc. No. 31-3].

       8.    On July 1, 2015, this Honorable Court granted the Motion for Summary Judgment of

the City and Police Department [Doc. No.28], but denied Defendant Covington’s Motions [Doc.

Nos. 30 & 40]. The Motions to Dismiss were denied as moot [Doc. Nos. 6 & 26].

       9.    Sims respectfully moves this Honorable Court for Reconsideration of its Order

granting the Defendants’ Motion for Summary Judgment, or for a New Trial.

      A. The order dismissing Sim’s Whistleblower claim would not preclude Sims’ federal
         claims under Texas Law

       10.   The preclusive effect of a state court judgment is determined by the Full Faith and

Credit Act, 28 U.S.C. § 1738, which requires federal courts to accord state court judgments the

same preclusive effect they would receive in the courts of the rendering state. Marrese v.

American Academy of Orthopedic Surgeons, 470 U.S. 373, 380-81 (1985). In this case, the order

granting the City’s plea to the jurisdiction would not preclude this action under Texas law, and

therefore, it should not preclude Plaintiff’s claims in this case. Piggly Wiggly Clarksville, 83

F.Supp.2d at 792. Under Texas law, a dismissal for want of jurisdiction is not a judgment on the
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merits, even when consideration of the merits is necessary for the jurisdictional decision. Garcia

v. Kubosh, 274 S.W.3d 133, 137 (Tex. App.—Houston[1st Dist.] 2012, no pet.), citing e.g.,

Robinson v. Parker, 353 S.W.3d 753, 756 (Tex. 2011); Houston Pipeline Co. v. Bank of Am.,

N.A., 213 S.W.3d 418, 429 (Tex. App.—Houston [1st Dist.] 2006, no pet.) If the trial court

determines the merits, “[t]he trial court's judgment is void for lack of jurisdiction.”    Garcia v.

Kubosh, citing Houston Pipeline, 213 S.W.3d at 429. When a plea to the jurisdiction of a court

is sustained, the trial court should dismiss the suit without prejudice. Dismissal based on lack of

jurisdiction can never be on the merits, (beyond the precise jurisdictional question decided, over

which a court always has jurisdiction), and is improper if the plaintiff can potentially remedy the

jurisdictional defect in any court. Harris Cnty. v. Sykes, 136 S.W.3d at 641-42, citing Bell v.

State Dep't of Highways and Pub. Transp., 945 S.W.2d 292, 295 (Tex.App.—Houston[1st Dist.]

1997, writ denied). While a court always has jurisdiction to determine its own jurisdiction, any

final judgment or determination of the merits by a court that lacked jurisdiction is void.

Robinson, 353 S.W.3d at 756; Garcia, 274 S.W.3d at 137; Houston Pipeline Co., 213 S.W.3d at

429. County of Cameron v. Brown, 80 S.W.3d 549, 555 (Tex. 2002)(In deciding a plea to the

jurisdiction, a court may not consider the merits of the case, but only the plaintiff’s pleadings and

the evidence pertinent to the jurisdictional inquiry).

       11.   In granting summary judgment, this Court determined that the state court order was

based on sovereign immunity, that an order granting a plea to the jurisdiction is a decision on

the merits as to the jurisdictional question, and that in this case, sovereign immunity defeats

Sims’ federal constitutional claims that are not governed by the shortened time limitation under

the Whistleblower Act. The state court’s jurisdictional order, however, expressly limited itself to

the reasons stated in the City’s Plea to the Jurisdiction – the statute of limitations. [Doc. No.
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31-3, State Court Order, stating, “the Court finds that it lacks jurisdiction over the claims

asserted against the City for the reasons stated in the plea.”]    The question of whether Sims

timely filed suit within the 90-day limitations period under the Texas Whistleblower act was the

only determination by the state court; the state court determined it lacked jurisdiction to

determine the merits.

         12.   Even where there is a decision on the merits by a court of competent jurisdiction,

Texas law does not preclude different claims. For instance, in Gilbert v. Fireside Enterprises,

Inc., 611 S.W.2d 869 (Tex.Civ.App. 5th Dist., 1980), the Texas Court of appeals reversed a trial

court’s order granting summary judgment based on res judicata because although the prior final

judgment involved identical parties and arose out of the same occurrence, the second suit was

one for breach of contract, whereas the prior suit was a tort claim (negligence).

         13.   A final judgment that is truly on the merits may also preclude other claims that

could have been brought simultaneously, but this rule appears far more expansive than it is. See

Flores v. Edinburg Consolidated Independent School District, et al., discussing the rule in

Freeman v. McAninch, 87 Tex. 132, 27 S.W. 97, 100 (Tex. 1894), where the Texas Supreme

Court declared that "[a] party cannot relitigate matters which he might have interposed, but failed

to do, in a prior action between the same parties or their privies, in reference to the same subject

matter." Thus, a judgment "is not only final as to the matter actually determined, but as to every

other matter which the parties might litigate in the cause, and which they might have had

decided." Id. The Texas Supreme Court has clarified that this does not mean all potential claims

remotely available, but those that were reasonably decided on the merits by the full trial of one

claim.     The U. S. Fifth Circuit Court of Appeals recognized this seemingly broad rule of

bringing all claims possible in Flores v. Edinburg Consolidated Independent School District, et
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al.:

         On its face, this broad statement of the rule suggests that every claim that might be
         permissibly joined in one suit must be so joined or will be forfeited. The Texas Supreme
         Court, however, soon explained that it understood the rule "to mean only that all matters
         which properly belong to a cause of action asserted in the pending suit, such as will
         sustain or defeat, in whole or in part, that cause of action, must be produced or be
         barred by the judgment, and not that all of the different causes of action a party may have
         respecting the same property must be joined, because they may be, in one proceeding."
         Moore v. Snowball, 98 Tex. 16, 81 S.W. 5, 8 (1904). The court quoted approvingly from
         Freeman on Judgments 249: "The general expression, ... that a judgment is conclusive of
         every matter which the parties might have litigated in the action, is misleading. What is
         really meant by this expression is that a judgment is conclusive upon the issues tendered
         by the plaintiff's complaint." Id. … ….Thus the scope of the res judicata bar is
         dependent on a determination of which issues are "connected with a cause of action or
         defense"                  in                  the                 first                suit.

741 F.2d 773 (5th 1984).

         14.   Even assuming there was a litigated and determined on the merits, it would not

operate to dispose all of the matters in Sims’ federal complaint. The majority of Sims’ federal

claims could not have been determined by any determination of the state law Whistleblower

claim.

         15.   This Court’s Order characterized Sims’ claims against the City as turning on his

termination “after he reported misconduct by his supervising officer to the Chief of Police.”

Sims not only reported misconduct but illegal activities to the Chief of Police and more

significantly, to the Texas Rangers. He made additional protected speech for which he was

retaliated against, which are not necessarily illegal acts for which a claim is available under the

Texas Whistleblower Act.        Nor does the Whistleblower Act preempt federal constitutional

claims. The Texas Whistleblower Act’s waiver of immunity is expressly limited to adverse

employment actions. Thus, Sims’ state law claim, filed roughly two months before his federal

lawsuit, were limited to suspension, termination, or otherwise adverse personnel actions against

an employee. Sims’ federal claims are not limited to the employment actions of Defendant City,
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but include the serious post termination denial of due process (which continues), initiating a

criminal investigation by outside agencies (Texas Rangers) and bringing based on causing

criminal investigation and causing criminal charges to be brought against him based on false and

fabricated information; the publishing of false charges of criminal conduct and wrongdoing

which deprive him of protected interests without due process .

        16.   Sims did not “file a separate action in state court against the City alleging

wrongful termination under Texas law,” but the state court action preceded the federal claims by

roughly two months. The statute of limitations under the Whistleblower Act is significantly

shorter than for Sims’ federal claims. This Court would not have had jurisdiction over Sims’

Whistleblower action at the time it was filed. Irrespectively, the filing of concurrent actions in

different courts, even if they arise out of the same events, is permissible, even though, for

instance, it may prevent the defendant’s ability to remove an action to federal court. Sims had a

right to file his state court claim in state court, and was not required to file his federal claims at

that time and in that forum. Carpenter v. Wichita Falls Independent School District, 44 F.3d 362

(5th Cir. 1995).

        17.   In Carpenter, the Fifth Circuit found that the Texas Constitution provided greater

free speech protections than the First Amendment to the Federal Constitution, and that “[t]he

broader language permits a broader right,” and that “[t]o equate these distinct constitutional

provisions would be, in effect, to deny the reality and the possibility of a more expansive state

liberty. We therefore cannot construe a claim brought under Article I, Section 8 of the Texas Bill

of Rights to be essentially or necessarily federal in character.” Id. at 369. The Court concluded,

“In short, we cannot say that the failure to make a state claim pendent makes it federal. Just as a

federal court may not enjoin a state action for the same cause simply because it is proceeding
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concurrently, see 28 U.S.C. § 2283, likewise a federal court may not take it on removal.”      The

Court explained that there was no prior federal judgment and, consequently, no perceptible

federal character to the state claim. Like Sims, Carpenter filed both actions simultaneously. As

a result, there was no judgment to protect and no federal preclusion law to apply. Unlike the

plaintiffs in Moitie, Carpenter was taking preclusion risks in order to have her state law claim

heard in its preferred forum; she was not attempting to avoid the effect of a prior judgment. Id.

at 370-371.

       18.    The dismissal of the state claim did not apply to preclude all potential claims, then

known or unknown to Sims, or shorten the limitations period for federal civil rights claims as

applied to only David Sims, imposing an unreasonable burden on Sims to have brought

simultaneously and in the State court all claims known or unknown. At the time of filing, this

Court would not have had jurisdiction over Sims’ state law claim.            Nor were the City’s

additional unconstitutional actions against Sims subsequent to the termination of his employment

actionable under the Texas Whistleblower Act. The Act provides limited relief for suspension,

termination, or otherwise adverse personnel actions against an employee.

       C.     No Final Judgment

       19.    This Court’s decision addressed Sims’ pending appeal of the state court’s order,

concluding that it did not matter even if the state dismissal is reversed on appeal; that even an

incorrect judgment is a final judgment for res judicata purposes. Res judicata applies to even an

incorrect judgment, but that judgment must be final first. The Court’s reasoning has been

applied only in cases where no appeal was filed. See Comer v. Murphy Oil USA, Inc., 718 F.3d

460 (5th. Cir., 2013)(Iselin v. Meng, 307 F.2d 455, 457 (5th Cir.1962) (quoting Rubens v. Ellis,

202 F.2d 415, 418 (5th Cir.1953)); see Federated Dep't Stores, Inc. v. Moitie, 452 U.S. 394, 398,
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101 S.Ct. 2424, 3 (1981) (“[T]he res judicata consequences of a final, unappealed judgment on

the merits [are not] altered by the fact that the judgment may have been wrong or rested on a

legal principle subsequently overruled in another case.”); Procter & Gamble Co. v. Amway

Corp., 376 F.3d 496, 500 (5th Cir. 2004). The “indulgence of a contrary view would result in

creating elements of uncertainty and confusion and in undermining the conclusive character of

judgments, consequences which it was the very purpose of the doctrine of res judicata to avert”

Id.,citing Federated Dep't Stores, Inc. v. Moitie, 452 U.S. 394, 398–99, (quoting Reed v. Allen,

286 U.S. 191, 201 (1932)).

       20.   This Court’s decision punishes Sims by extending principles the Court

acknowledges have only applied upon a summary judgment determination in Texas courts, and

renders the Whistleblower Act a preemptive bar to all other potential claims Sims may discover,

or independent, actionable conduct by the Defendant City that could never arise under the

Whistleblower Act. The Court’s Order unfairly bars Sims from his right to pursue any number

of claims that are meritorious. It should be noted that the dismissal of Sims’ state claim was

based on the Defendant City’s misleading Plea, which omitted the critical fact of Sims’ pending

appeal from his termination to the City Manager, which continue to toll any applicable

limitations period under the Whistleblower Act, thereby taking advantage of a pro se party who

has continuously suffered by the illegal acts of the City of Madisonville.

                           PRAYER & REQUEST FOR HEARING

       21. Plaintiff, David Sims, respectfully prats that the Honorable Court reconsider its

Order granting summary judgment, and/or for a new trial. Plaintiff respectfully prays that the

Honorable Court grant him a hearing on this Motion.
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                                       Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of July, a true and correct copy of the foregoing

document was delivered to all opposing counsel(s) by electronic filing of same in accordance

with the District's ECF service rules, to:

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